                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
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ORLANDO RILEY

                  Plaintiff,

                  v.
                                                 C.A. 1:15-cv-14137-DJC
MASSACHUSETTS STATE POLICE

                  Defendant.

__________________________________________


       DEFENDANT MASSACHUSETTS STATE POLICE’S MEMORANDUM
           IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT




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  Defendant Massachusetts State Police’s Local Rule 56.1 Statement of Material Facts is cited herein as
SMF ¶ __. Exhibits to Defendant’s Statement of Material Facts and Motion for Summary Judgment are
attached to the contemporaneously-filed Affidavit of Jesse M. Boodoo, Esq. or, in the case of Exhibits 57
through 66, filed conventionally and under seal. All Exhibits are cited herein as Ex. ___. Defendant’s
Motion for Leave to file a thirty-page brief was allowed at [Doc. 117].
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                                       INTRODUCTION

       Plaintiff Orlando Riley (“Riley” or “Plaintiff”) is a former candidate for a position as a

State Trooper with Defendant Massachusetts State Police (“MSP”) who failed his background

investigation.   Riley failed because MSP’s Background Review Board (“Review Board”)

determined that Riley was an untruthful individual who had engaged in a broad pattern of

deception designed to conceal embarrassing aspects of his past. Riley, while acknowledging

mistakes, asserts that all of his mistakes were unintentional and that his background investigator—

Trooper Robert Lima—was too quick to judge him as untruthful. In this race discrimination action

pursuant to Title VII, Riley alleges that Trooper Lima acted with racial bias, and that such bias

affected the Review Board’s decision and is therefore attributable to MSP.

       Summary judgment should now enter for MSP. In the first place, Riley cannot establish a

prima facie case of discrimination because he cannot show that he was similarly situated to any

candidate hired by MSP. Riley was disqualified because he was found untruthful, an unacceptable

trait for anyone who would be a Trooper. Riley cannot point to any hired candidate for whom

similar concerns were overlooked. Furthermore, Riley can point to no evidence to establish that

MSP and Lima’s belief that he was untruthful was not genuine, and that racial animus was the real

reason for their actions. MSP and Lima’s concerns with Riley’s candor were multifold and

founded in fact. Race had nothing to do with anything that happened to Riley.

       Finally, in a case of this nature—where Riley alleges that the Review Board’s decision was

tainted by Trooper Lima—it is Riley’s burden to demonstrate that the Review Board reasonably

should have known of racial animus on the part of Lima. This Riley cannot do. The Review Board

independently reached the conclusion that Riley was untruthful, and there is no evidence to suggest

that the Review Board was somehow negligent in its review.



                                                1
                                        BACKGROUND

I.     Riley Becomes a New Bedford Police Officer.

       Riley is an African-American resident of Massachusetts. SMF ¶ 1. In 1999, Riley applied

to become a police officer with the New Bedford Police Department (“NBPD”). Id. ¶ 16. The

NBPD application required Riley to list all of his high schools. Id. ¶ 17. In response, Riley listed

three high schools he had attended (Muskegon High School, Bishop Stang High School, and New

Bedford High School) but omitted a fourth (Dartmouth High School). Id. ¶¶ 3-12, 17. Years

earlier, Riley had been expelled from Dartmouth High School for using a false residency address.

Id. ¶¶ 10-11. Riley was not hired by NBPD in 1999. Id. ¶ 19.

       In 2001, Riley applied to NBPD for a second time. Id. ¶ 16. The application again required

Riley to list his high schools and Riley again omitted Dartmouth High School. Id. ¶ 17. Riley was

hired by NBPD in 2001 and has been employed there as a police officer since. Id. ¶¶ 2, 20.

II.    Riley Unsuccessfully Applies to the Providence Police Department.

       Riley also applied to become a police officer with the Providence Police Department in

1999. Id. ¶ 13. He submitted an application, took a physical exam, and interviewed, but because

he received a low score on the written examination, he did not progress further. Id. ¶¶ 13-15.

III.   Riley Fails His Background Investigation with the Rhode Island State Police.

       In 2003, Riley applied to become a state trooper with the Rhode Island State Police

(“RISP”). Id. ¶ 21. The application required Riley to disclose any law enforcement agency to

which he had ever applied. Id. ¶ 22. In response, Riley listed his successful application to NBPD,

but omitted that he had unsuccessfully applied to the Providence Police Department in 1999. Id.

¶ 22. The RISP application also called for Riley to list his high schools. Id. ¶ 23. In response,

Riley listed only New Bedford High School, omitting his other three schools. Id.



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       Riley’s application to RISP proceeded to the point of a background investigation. Id. ¶¶

24-25. After interviewing Riley, a RISP background investigator concluded that Riley was “Not

Recommended” for continuing in the RISP selection process and, consequently, Riley was not

hired by RISP. Id. ¶¶ 24-28. The investigator recorded that his decision was based on, among

other factors, Riley’s “lack of attention to detail, his lackadaisical attitude and his prior work

performance.” Id. ¶¶ 26-27. The RISP investigator noted in particular that Riley had failed to

“indicate [in his application] that he had applied to the Providence Police Department.” Ex. 6.

IV.    The New Bedford Police Department Conducts the Soares Investigation.

       In late November 2009, an individual named John Soares was arrested on charges related

to throwing explosives. SMF ¶ 29. Soares was brought to NBPD headquarters to await booking

and was placed down on a bench in Riley’s immediate vicinity. Id. ¶¶ 29-33; Ex. 10. While Riley

stood by, Soares wriggled out of his handcuffs without Riley noticing. SMF ¶¶ 30-33. Not long

after, Soares successfully fled off the grounds and evaded capture for several days. Id.

       In December 2009, NBPD’s Deputy Chief David Provencher initiated misconduct

proceedings and an internal investigation against Riley, charging him with violating NBPD’s rules

and regulations in allowing the escape to occur (hereinafter, the “Soares investigation”). Id. ¶¶

34-35, 46. On January 26, 2010, Riley appeared, represented by counsel, for an interview with

NBPD’s internal investigator. Id. ¶¶ 35-37. Before the interview began, Riley signed a “PSU

Form 3” stating: “You are hereby being ordered . . . to . . . provide information you may have

regarding a complaint” that “alleges Violation of Department Rules & Regulations and Neglect of

Duty in connection with the escape of John Soares.” Id. ¶ 37. In Provencher’s view, the purpose

of the Form was to inform Riley that he was a subject of the Soares investigation. Id. ¶ 38.




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        Following the interview, the investigator issued a report finding that Riley had violated

several NBPD rules and regulations pertaining to neglect of duty. Id. ¶¶ 39-40, 47. On June 18,

2010, Provencher wrote a memorandum to NBPD Chief Ronald Teachman recommending that

Riley receive a written reprimand due to the sustained finding that Riley had violated NBPD rules

and regulations (hereinafter, the “June 18, 2010 Memorandum”). Ex. 13. Teachman did not act

on the recommendation and eventually retired in 2011 with the recommendation still on his desk.

SMF ¶ 42. When Teachman retired, Provencher became the Chief of the NBPD. Id.

V.      Riley’s Application to the Massachusetts State Police. 2

        In 2009, Riley took the written examination required for MSP Trooper candidates. Id. ¶

88. Based on his score, Riley received and accepted an invitation to compete for MSP’s 80th RTT

in February 2011. Id. ¶¶ 62, 89. Upon accepting, Riley was required to complete MSP’s

“Application and Personal History Statement” (hereinafter, “Application”). Id. ¶ 63. Riley did so

and, on May 3, 2011, submitted his Application to MSP. Id. ¶ 91. Riley’s Application, as he

submitted it to MSP, was replete with misstatements and omissions. Id. ¶¶ 96-107, 149; Ex. 25.3

        Question No. 8 required Riley to list all of his high schools and colleges. SMF ¶ 96. In

response, Riley listed all of his colleges. Id. ¶ 97. However, just as he had before in his NBPD

and RISP applications, Riley only selectively disclosed his high schools. Id. ¶¶ 17, 23, 98. Riley

listed only New Bedford High School, omitting his other three schools. Id. ¶ 98.

        Question 20.A. on the Application stated: “[H]as . . . any . . . law enforcement agency ever

investigated your background for purposes of employment,” and then specified that, if so, the


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  MSP’s application and hiring process for MSP’s 80th Recruit Training Troop (“RTT”) is generally
described in detail at SMF ¶¶ 59-69 and Ex. 45.
3
  Two versions of Riley’s Application are included in the record. Exhibit 17 is Riley’s Application, as he
initially submitted it to MSP on May 3, 2011. Exhibit 25 is Riley’s Application with handwritten changes
and corrections made by Riley at his September 1, 2011 interview with Lima.

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applicant must list “ALL of the departments you have applied to.” Id. ¶ 99. Riley answered “YES”

but did not disclose all of his prior police department applications. Id. ¶¶ 100-01. Specifically,

Riley listed his successful 2001 application to NBPD but, just as he had before when applying to

RISP, omitted his unsuccessful 1999 application to the Providence Police Department. Id. ¶¶ 22,

101. Riley also omitted his unsuccessful first application to NBPD from 1999. Id. ¶¶ 16, 19, 102.

        Question No. 20.E. on the Application stated: “If you are a . . . police officer . . . . Have

you ever been the subject of an internal investigation . . . ?” Id. ¶ 103. The Application further

instructed that any “YES” answer should be “fully explain[ed].” Id. Riley checked “NO,” thus

failing to disclose his status as a subject of the Soares investigation. Id. ¶¶ 104-05. Below his

answer, Riley wrote: “I have never been the subject of an internal investigation . . . . The only

time I was interviewed by my internal affairs unit was as a witness.” Id. ¶¶ 104, 106. 4

        At the end of the Application, Riley certified that he had “underst[ood] each question,” and

that his answers were “true and correct.” Id. ¶ 93. Along with the Application, Riley also

submitted a separate notarized agreement affirming his understanding “that false or misleading

information given herein or during interview(s) will result in my being disqualified from further

consideration.” Ex. 18 (emphasis added). See SMF ¶ 94.




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  Discovery has revealed that Riley’s answer and explanation in response to Question No. 20.E. were also
false in a second respect, unknown to MSP or Lima at the time. Per NBPD records, Riley was also the
subject of a second and separate internal investigation, known as the “Stallings investigation,” which arose
from allegations that Riley engaged in misconduct in the course of an arrest in 2006. SMF ¶¶ 55-58. Riley
also omitted his status as a subject of the Stallings investigation in his Application. Id. ¶¶ 55-58, 107. Riley
testified at his deposition that although he received notice that he was a subject of this investigation, he
assumed the notice was a “mistake[].” Ex. 47 (Riley Dep.) at Tr. 237-58. Moreover, Riley was also
interviewed by NBPD internal affairs as part of the Stallings investigation, SMF ¶ 57, meaning that his
representation on the Application that he had only been interviewed once by internal affairs was also false.

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VI.     Riley Attends the May 24, 2011 Meeting on the Soares Investigation.

        On May 24, 2011—21 days after submitting his Application to MSP—Riley was called to

a meeting with Provencher (then in his new position as Chief) regarding the Soares investigation.

Id. ¶ 43. Provencher told Riley that while the charges against him had been sustained, Riley would

only be issued a verbal warning and the investigation would then be closed. Id.; Ex. 46 at 35.

        Worried about his application to MSP and concerned that he was an active “candidate in

the [MSP hiring] process,” Riley then asked Provencher “whether or not something would end up

in [his] file” related to the Soares investigation. SMF ¶¶ 45, 225. Provencher assured Riley “that

nothing was going in [his] file.” Id. ¶ 45. Not content with the assurance, and still concerned

about his MSP candidacy, Riley waited until August 2011 and then personally went to view his

NBPD personnel file to ensure that there was no sign of the Soares investigation. Id. ¶¶ 53, 126.

        In this litigation, Riley contends that he never understood that he was a subject of the Soares

investigation until the meeting of May 24, 2011. Id. ¶¶ 50-52. It is doubtful that any reasonable

jury could so conclude. Nevertheless, MSP assumes for purposes of this motion that Riley did not

know that he was a subject of the Soares investigation until May 24, 2011.

VII.    Riley Fails to Correct His Application.

        In or around early July 2011, Trooper Robert Lima was assigned to conduct Riley’s

background investigation. Id. ¶ 108. 5 Lima has been employed by MSP since 2006 and has never

held a rank higher than Trooper. Id. ¶ 109. Lima is white. Id. ¶ 115.

        On July 7, 2011, Lima spoke to Riley for the first time and told Riley that he could answer

any questions about the application material. Id. ¶ 116. Lima then followed up with an email


5
 In general, the background investigation process for the 80th RTT, and the distinction between individual
background investigators (who played a fact-gathering and investigative role) and the Review Board (which
acted as the decision-maker) is described in detail at SMF ¶¶ 70-87.

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providing Riley with a document known as the “Questionnaire” for Riley to complete before his

interview. Id. ¶¶ 119, 130. Although Riley had been concerned enough on May 24, 2011 to seek

assurances “that nothing [on the Soares investigation] was going in [his] file” that could impair his

MSP candidacy, Riley did not tell Lima in this initial discussion that he had learned that he was a

subject of the Soares investigation, nor did he tell Lima that his Application needed to be corrected.

Id. ¶¶ 45, 53, 117-18.

       On July 20, 2011, Riley emailed Lima: “This email is to inform you that I have obtained

all documentation that is required . . . . If there is any further information that is needed please

contact me.” Id. ¶ 120. Riley did not tell Lima that he had learned that he was a subject of the

Soares investigation, nor did he tell Lima that his Application needed to be corrected. Id. ¶ 122.

       On August 17, 2011, Riley emailed Lima: “There has [sic] been some changes to my

references on my application,” and then provided updated contact information for three references.

Ex. 22 (emphasis added). Riley did not tell Lima that he had learned that he was a subject of the

Soares investigation, nor did he tell Lima that his Application needed to be otherwise corrected,

aside from these few self-serving changes to references. SMF ¶¶ 123-25. See also id. ¶¶ 127-28

(further email of August 22, 2011). At about the same point in August 2011, Riley went to view

his NBPD personnel file to ensure for himself that there was no sign of the Soares investigation

that MSP might consider a “negative” to his candidacy. Id. ¶¶ 53, 126.

VIII. Riley Provides False Answers on the Questionnaire.

       Prior to appearing for his interview with Lima, Riley completed and signed the

Questionnaire document Lima had provided in July 2011. Id. ¶¶ 119, 129-30. The Questionnaire

required Riley to certify that his answers were true and complete, as well as his understanding

“that false, incomplete or misleading information given herein may be sufficient cause for



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disqualification.” Ex. 24 (emphasis added). Riley so certified and signed the Questionnaire on

September 1, 2011—exactly 100 days after the meeting of May 24, 2011 where, at the very latest,

Riley learned that he was a subject of the Soares investigation. Id.; SMF ¶¶ 50-52.

       Beneath his certification, Riley provided three materially false answers: First, Riley was

asked, “Have you broken any company rule?” Riley answered, “No.” Id. ¶¶ 138-39. In fact, Riley

knew that he had been found in violation of NBPD rules and regulations as a result of the Soares

investigation. Id. Second, Riley was asked, “Is your name in a case report file with any police

department or law enforcement agency that you are aware of?” Riley answered, “No.” Id. ¶¶ 140-

41. In fact, Riley knew that his name appeared in the investigation report for the Soares

investigation. Id. Third, Riley was asked, “Is everything accurate and complete on you[r]

application?” Riley answered, “Yes.”       Id. ¶¶ 133-37. In fact, Riley’s Application was not

“accurate and complete” as of September 1, 2011, and Riley knew, at the very least, that his answer

to Question 20.E. needed to be corrected. Id. ¶¶ 133-37, 153.

IX.    Lima Learns of the Soares Investigation and Interviews Riley.

       Early in the day on September 1, 2011, Lima travelled to the NBPD to view their files

related to Riley. Id. ¶ 142. Lima reviewed both Riley’s personnel file (which Riley had previously

reviewed in order to check for any signs of the Soares investigation) as well as Riley’s internal

affairs file (which, apparently, Riley did not know about). Id. ¶¶ 142-43, 225, 227. Within the

internal affairs file, Lima found the June 18, 2010 Memorandum, which Lima then photocopied

and took with him. Id. ¶ 143. Based on the June 18, 2010 Memorandum, Lima believed that Riley

had in fact received the reprimand recommended in the document. Id. ¶ 145.

       Following his visit to the NBPD, Lima travelled back to MSP’s Dartmouth barracks to

conduct his interview of Riley. Id. ¶ 146. The interview lasted approximately three hours. Id.



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        While the interview proceeded, Riley did not at any point affirmatively volunteer to Lima

that he had learned that he was a subject of the Soares investigation, and that his Application

needed to be corrected. Id. ¶¶ 151-55. Eventually, Lima asked, “[I]s there anything else about

you in regards to internal affairs that you want to discuss?” Id. Only then, Riley revealed that he

had learned that he was a subject of the Soares investigation. Id. 6 Lima further asked, “How come

you did not call me and tell me about this?” Id. Riley replied, “[B]ecause there was no discipline

involved and I would rather discuss this issue with you during my interview so I could tell you in

detail about the incident and there wouldn’t be any misunderstandings.” Id.

        At this point, Lima showed Riley the June 18, 2010 Memorandum. Id. ¶¶ 156-59. Riley

immediately responded, “that’s not supposed to be in my file,” and then repeated that phrase for a

second time when Lima asked for explanation. Id. Eventually, Riley stated that he had never seen

the document before, but that he had been assured “that there was no discipline involved in [the]

incident and the incident was not going in [his] file.” Id. Ultimately, Riley changed his answer to

Question 20.E. on the Application from “NO” to “YES” and initialed the change. Id. ¶ 161; Ex.

25. At the conclusion of this part of the interview, Lima thought it clear that Riley had been

untruthful regarding the Soares investigation, and felt that Riley was attempting to minimize a

major issue involving the escape of a prisoner. SMF ¶ 160.

        At some point in the interview, Riley and Lima discussed Question 20.A., pertaining to

other law enforcement agencies. Id. ¶¶ 162-63. Riley did not volunteer that, beyond what he had

listed, he had also unsuccessfully applied to the Providence Police Department in 1999. Id.




6
 This is according to Riley. As Lima recalls it, Riley entirely failed to address the Soares investigation
until Lima placed the June 18, 2010 Memorandum in front of him, effectively leaving Riley no choice. Ex.
27 at MSP00071; Ex. 48 at 33-38.
                                                    9
       At some point in the interview, Riley and Lima discussed the fact that Riley had attended

other high schools in addition to the single one listed on the Application (New Bedford High

School), and Riley added Muskegon High School and Bishop Stang High School to the

Application. Id. ¶¶ 164, 169; Ex. 25. Riley did not add Dartmouth High School to the Application.

SMF ¶ 169. Lima asked Riley to procure transcripts from any other high schools, as Riley had

only previously ordered a single transcript from New Bedford High School. Id. ¶¶ 121, 170. Lima

and Riley also discussed why Riley had left his other unlisted high schools. Id. ¶¶ 164-68. While

the parties dispute what was said in this regard, id. ¶¶ 165-66, this much is undisputed: Lima left

the interview with the impression (right or wrong) that Riley had left Bishop Stang High School

due to a residency requirement, id. ¶ 167, 179, 197-98.

X.     Lima Conducts Follow-Up and Writes his Background Investigation Report.

       Following the interview, and having understood Riley to say that he had left Bishop Stang

High School due to residency issues, Lima reached out to Bishop Stang to attempt to confirm why

Riley had left that school. Id. ¶¶ 165, 167, 173-74. Lima spoke with a school official “who

informed [him] that [Riley] did attend the high school for a year but did not return the following

year based on academic performance.” Id. ¶ 174. At around this time, Lima also visited Riley’s

home to perform the required neighborhood check. Id. ¶¶ 175-78.

       On September 7, 2011, Lima completed a 12-page background investigation report on

Riley. Ex. 27. There, Lima explained in detail Riley’s evasive statements and omissions regarding

the Soares investigation, his conclusion that Riley had received a written reprimand, and his

investigation into why Riley left Bishop Stang High School. Id. At the end of the report, Lima

recorded that Riley’s “negative employment aspects” included being “[u]ntruthful about

disciplinary action,” not being “completely forthright on disclosing disciplinary action,” and



                                                10
demonstrating a “[l]ack of attention to detail,” “[l]ack of understanding,” and “[a]cceptance of

mediocrity” in connection with his completion of the Application. Id. See SMF ¶ 180.

XI.    The Review Board Disqualifies Riley.

       On September 7, 2011, MSP’s Review Board met and considered Riley’s background

investigation. Id. ¶ 181. The three members of the Review Board unanimously concluded that

Riley had failed his background investigation and would be disqualified from the hiring process.

Id. ¶ 182. See Ex. 50 (explaining in detail the Review Board’s decisions).

       In reaching its decision, the Review Board reviewed and considered Riley’s Application

and Questionnaire, and Lima’s completed background investigation report. SMF ¶ 183. Based

upon its review, the Board concluded that Riley had been knowingly untruthful in several respects:

(1) Riley had lied on his Application about whether he was a subject of the Soares investigation;

(2) Riley had lied on the Questionnaire in response to questions that called for information about

the Soares investigation; (3) Riley had lied to Lima in denying that he received a written reprimand;

and (4) Riley had lied about the reasons he left Bishop Stang High School. Id. ¶ 185.

       Pursuant to the “Automatic and Discretionary Disqualifiers” guidelines that applied to the

Review Board’s decision-making, candidates would be automatically disqualified if they

“knowingly misrepresented or falsified information submitted on the Application . . . or any other

documents filed in conjunction with the hiring process” or if they “knowingly made false

statements to the background investigator.”       Ex. 14.    See SMF ¶¶ 81, 83.       Based on its

determination that Riley had knowingly made false statements, the Review Board deemed Riley

subject to automatic disqualification. Id. ¶¶ 184-85. By letter dated September 15, 2011, Riley

was informed that he had been disqualified because the Review Board determined that he “was

untruthful on his application” and “untruthful to [his] background investigator.” Ex. 28.



                                                 11
XII.    Riley Reacts to His Disqualification, and Lima Conducts Further Follow-Up.

        Also on September 15, 2011, Riley went to see Provencher to complain that MSP had

discovered information about the Soares investigation. SMF ¶ 225. Riley asked Provencher, “why

[he] was never informed about any recommendation for a written reprimand” and stated that he

“thought [Provencher had] said none of this was going in [his] file.” Id. Provencher replied, “I

meant your personnel files [and] your internal affairs file is different.” Id.

        Around September 18, 2011, Riley called Lima and angrily demanded an explanation of

how he had been untruthful. Id. ¶¶ 191-92. 7 Lima replied that Riley had received a reprimand in

the Soares investigation and that Riley had not told the truth about why he left Bishop Stang. Id.

Lima also noted that Riley had failed to disclose his application to the Providence Police

Department, which Lima had only learned about after completing his report. Id. ¶¶ 190-91. On

September 22, 2011, Riley wrote to MSP asking for a “second look” at his background and arguing

that he had not been untruthful (hereinafter, the “September 22, 2011 Letter”). Ex. 29.

        Separately, Lima sought and received permission to conduct additional follow-up

investigation related Riley. SMF ¶¶ 195-98. Lima explained that he wanted to “make sure that

[he] had not missed anything” because he “was, essentially, being accused [by Riley] of getting

the report wrong.” Id. ¶ 195. In conducting this follow-up, Lima learned from NBPD that the

reprimand referenced in the June 18, 2010 Memorandum had been “initiated but . . . never acted

on.” Id. ¶ 196. Lima also spoke to another official of Bishop Stang High School who confirmed

again that Riley had left the school under an academic cloud. Id. ¶ 197. On September 28, 2011,

Lima completed a memorandum documenting the findings of his further investigation. Ex. 30.




7
  Riley had his disqualification letter in hand at the time. Nevertheless, Riley did not appear to understand
that it was the Review Board, and not Lima, who disqualified him. See SMF ¶¶ 70-87, 181-89.
                                                     12
XIII. The Review Board Disqualifies Riley for a Second Time.

       On September 26, 2011, the Review Board met to reconsider Riley’s background

investigation in light of Riley’s “appeal” in his September 22, 2011 Letter. SMF ¶¶ 200-211. The

Review Board unanimously concluded that Riley would remain disqualified. Id. See Ex. 50.

       In reviewing Riley’s “appeal,” the Review Board followed the same process as it had in its

earlier meeting, reviewing Riley’s documents as well as the September 22, 2011 Letter. SMF ¶¶

201-02. The Board did not consider Lima’s new memorandum which Lima had not yet completed.

Id. ¶¶ 199, 203. The Board was aware, however, that the reprimand referenced in the June 18,

2010 Memorandum had never been acted upon, which Lima conveyed prior to the meeting. Id.

       As it had weeks earlier, the Review Board again concluded that Riley had been knowingly

untruthful and, therefore, was subject to automatic disqualification under the guidelines. Id. ¶ 206.

In particular, the Board continued to believe that Riley had lied on his Application and his

Questionnaire in regards to the Soares investigation, and the fact that Riley had not received the

recommended reprimand made no difference to this conclusion. Id. ¶ 207. The Board also

continued to believe that Riley had lied about why he left Bishop Stang High School, and

concluded that Riley had further lied in response to Question 20.A. on the Application by failing

to disclose his unsuccessful application to the Providence Police Department. Id. ¶¶ 204, 208-09.

       By letter dated September 28, 2011, Riley was informed that “[a]fter reconsidering the

information presented in the first instance as well as the representations advanced in your letter . .

. the Review [Board] has affirmed its original decision to remove you from the process.” Ex. 67.

XIV. Riley Commences Litigation Against the New Bedford Police Department.

       In June 2012, Riley filed a charge of race discrimination with the Massachusetts

Commission Against Discrimination (“MCAD”) against NBPD and Provencher. SMF ¶¶ 226-28.



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Riley alleged that Provencher discriminated against him by placing the June 18, 2010

Memorandum in his internal affairs file, causing him to fail his MSP background investigation.

Id. Riley alleged that he had “specifically inquired as to whether or not something would end up

in my file as I was a [MSP] candidate” and had been assured by Provencher that “nothing was

going in [his] file.” Ex. 32. The charge was dismissed for lack of probable cause. Ex. 38.

XV.     Riley’s Claims Against the Massachusetts State Police.

        Riley commenced this litigation in April 2012 by filing an MCAD charge against MSP and

Lima. SMF ¶ 230. Riley focused his charge on Lima, alleging (incorrectly) that “Lima determined

that [he] be withdrawn from the application process for being untruthful.” Ex. 31. In 2014, the

MCAD dismissed Riley’s charge for lack of probable cause, specifically noting Riley’s failure to

point to any “appropriate comparators.” Ex. 37. Riley thereafter appealed to an Investigating

Commissioner who affirmed the lack of probable cause finding. Ex. 39. This lawsuit followed.

        Riley’s Amended Complaint alleges race discrimination in violation of Title VII. Riley

claim is that Lima acted with racial animus and caused the Review Board to disqualify him. As

the Court previously noted: “[T]he centerpiece of Plaintiff’s discrimination claim is that he was

excluded . . . ‘based on a profoundly biased interview and background investigation by a single

state trooper [Lima] . . . .’ That is, Plaintiff’s theory of the case is that by relying upon the racially

biased interview and investigation conducted by Lima, Defendant discriminated against Plaintiff.”

October 3, 2017 Order on Objection, [Doc. 112] (quoting Am. Compl. ¶ 1).

                                        ARGUMENT

        In the context of a discrimination claim under Title VII, “a plaintiff's ability to survive

summary judgment depends on his ability to muster facts sufficient to support an inference of

discrimination.” Charles v. Stop & Shop Supermarket Co., LLC, No. CIV.A. 10-10726-DJC, 2012



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WL 2402790, at *1 (D. Mass. June 25, 2012) (quoting Bennett v. Saint–Gobain Corp., 507 F.3d

23, 30 (1st Cir. 2007)). Where, as here, the plaintiff seeks to proceed by indirect evidence, the

Court applies the burden-shifting framework of McDonnell Douglas Corp. v. Green, 411 U.S. 792

(1973). 8 “The ultimate burden of proving unlawful discrimination rests at all times with [the

plaintiff].” Tobin v. Liberty Mut. Ins. Co., 433 F.3d 100, 105 (1st Cir. 2005).

        Summary judgment should now enter in favor of MSP. Riley cannot establish a prima

facie case, nor can he establish that MSP or Lima’s reasons were a pretext for discrimination.

Moreover, even apart from the framework of McDonnell Douglas, Riley cannot establish that the

Review Board was somehow negligent in relying on Lima.

I.      Riley Cannot Establish a Prima Facie Case Because He Was Not Similarly Situated
        to Any Hired Candidate.

        In a failure-to-hire case such as this, a plaintiff’s prima facie case requires him to show:

“(1) he is a member of a protected class; (2) he was qualified for the position to which he applied;

(3) he applied to that position and was not hired; and (4) the position to which he applied was filled

by a person possessing similar or inferior qualifications.” Cruz v. Mattis, 861 F.3d 22, 25 (1st Cir.

2017). Here, at the least, Riley cannot establish the fourth element of his prima facie case because

he cannot show that MSP hired another similarly situated candidate for the 80th RTT. See Cruz,

861 F.3d at 25; Goncalves v. Plymouth Cty. Sheriff's Dep’t, 659 F.3d 101, 106 (1st Cir. 2011)

(fourth element requires plaintiff to “point[] to . . . evidence establishing that []he was similarly

situated to the hired candidates”); Martinez-Burgos v. Guayama Corp., 656 F.3d 7, 12 (1st Cir.



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  That is, the plaintiff carries the initial burden of establishing a prima facie case of discrimination.
McDonnell Douglas Corp., 411 U.S. at 802. If the plaintiff establishes a prima facie case, the burden of
production shifts to the employer who must articulate a legitimate, nondiscriminatory reason for the
challenged decision. Cruz v. Mattis, 861 F.3d 22, 25 (1st Cir. 2017). If the employer articulates such a
reason, then the burden of production reverts to the plaintiff, who must offer evidence that the reason offered
by the employer is a pretext for discrimination. Id.
                                                      15
2011) (similar). Specifically, Riley cannot show that MSP hired any similar individual subject to

comparable concerns (or, indeed, any concerns at all) regarding their candor or truthfulness.

       At this stage, it is Riley’s burden to demonstrate that he was passed over in favor of a

“similarly situated” candidate. See Texas Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 258

(1981). To meet that burden, Riley must point to someone hired who had “roughly equivalent

qualifications” and who was similar to Riley in all “material respects.” Goncalves, 659 F.3d at

106 (internal citations omitted). In other words, “apples should be compared to apples.” Id.

(quoting Dartmouth Review v. Dartmouth Coll., 889 F.2d 13, 19 (1st Cir. 1989)). “The test is

whether a prudent person, looking objectively at the incidents, would think them roughly

equivalent and the protagonists similarly situated.” Dartmouth Coll., 889 F.2d at 19.

       The facts relevant to Riley’s prima facie case are straightforward. Riley failed his

background investigation because the Review Board determined that he made knowingly

untruthful statements, principally with respect to the Soares investigation. SMF ¶¶ 181-89, 200-

211. Riley does not dispute that his Application and Questionnaire contained multiple inaccuracies

and omissions, or that he intentionally withheld information about the Soares investigation from

Lima until the time of the interview. Id. ¶¶ 152-55; Ex. 25; Ex. 29. Riley instead offers a series

of excuses and explanations for his conduct. See infra Argument Section III.A. In substance,

Riley contends that he erred but did not lie. Riley faults Lima and MSP for too quickly reaching

a determination of untruthfulness and discounting his innocent explanations. On these facts,

Riley’s prima facie case requires him to point to at least one similarly situated hired candidate for

whom MSP overlooked comparable suggestions or concerns of potential untruthfulness.




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        Riley’s universe of comparators is limited. For the 80th RTT, Lima completed background

investigations on four candidates in addition to Riley: Candidates A.G., A.P., J.W., and J.H. 9 SMF

¶¶ 212-22. All four were white. Id. ¶ 214. Of them, three—A.G., A.P., and J.W.—were also

disqualified by the Review Board for failing their background investigations, and thus offer no

help to Riley. See id. ¶¶ 216-19; Cruz, 861 F.3d at 25; Goncalves, 659 F.3d at 106; Martinez-

Burgos, 656 F.3d at 12. The fourth, J.H., passed his background investigation. SMF ¶ 222. The

inquiry at this stage thus reduces to a single, simple question: whether Riley was “similarly

situated” to J.H. The answer is that he was not.

        With respect to the issue of truthfulness, J.H. and Riley could hardly have been more

different. Lima perceived no concerns with J.H.’s truthfulness and, indeed, J.H. earned praise

from Lima for his honesty and forthrightness in acknowledging limited past use of marijuana. Id.

¶ 220. More generally, Lima recorded in his report that “[t]hroughout the interview, [he] found

[J.H.’s] statements and[/]or explanations to questions [he] posed honest and accurate” and J.H.’s

“demeanor reflected someone who was honest and of integrity.” Sealed Ex. 64 at MSP03659.

Ultimately, Lima perceived no negative aspects in J.H.’s background. Id. J.H. made three

mistakes on his Application which he corrected at his interview with Lima: not listing a cell phone,

an email address, or the one high school he attended. SMF ¶ 221. None of these mistakes

suggested potential dishonesty, evasion, or concealment of bad facts.

        Comparing their candidacies side-by-side, Riley simply cannot meet his burden of showing

that he was similarly situated to J.H. in all material respects. In this regard, the Seventh Circuit’s



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  As this Court, the Magistrate Judge, and the MCAD have all previously recognized, Riley can only be
fairly compared to the four other candidates investigated by Trooper Lima. See October 3, 2017 Order on
Objection, [Doc. 112]; Ex. 37. See also Rodriguez-Cuervos v. Wal-Mart Stores, Inc., 181 F.3d 15, 21 (1st
Cir. 1999) (comparators cannot have “differentiating or mitigating circumstances that would distinguish
their conduct or the employer’s treatment of them for it”) (internal citations and quotation marks omitted).

                                                    17
decision in Sweatt v. Union Pacific Railroad Co., 796 F.3d 701 (7th Cir. 2015), is particularly on

point. In Sweatt, the plaintiff failed a background investigation because he did not disclose a prior

arrest on his application. Id. at 705-06, 709. After being confronted with the omission, the

plaintiff—much like Riley—attributed his mistake to a “misunderstanding” about the status of the

case. Id. The plaintiff was disqualified on grounds of untruthfulness and thereafter sued for race

and age discrimination. Id. at 706, 709, n.7. The Seventh Circuit ruled that summary judgment

was appropriate because the plaintiff had failed to establish the fourth prong of his prima facie

case. Id. at 709. To meet his burden, the plaintiff had to point to a candidate who was hired, who

was untruthful, and who was untruthful to a similarly serious degree as the plaintiff. Id. at 709-

10. This the plaintiff could not do. Id. While different candidates who were hired also provided

wrong answers on their applications or were arrested, those candidates “immediately rectified”

their applications or “forthrightly admitted to their prior misdeeds,” making them fundamentally

dissimilar from the plaintiff. Id. The plaintiff thus had no qualitatively similar comparator to rely

upon, and could not establish a prima facie case. Id. See also Gaston v. New Jersey, No. CIVA

05-CV-03006 FLW, 2008 WL 540853, at *3 (D.N.J. Feb. 25, 2008), aff’d 298 F. App’x 165 (3d

Cir. 2008) (candidate for police position who failed background investigation for lack of “good

moral character” could not point to any hired applicant raising similar concerns, and so could not

establish fourth element of prima facie case); Amini v. City of Minneapolis, 643 F.3d 1068, 1072-

76 (8th Cir. 2011) (police officer candidate failed background investigation after failing to disclose

prior criminal and disciplinary history, and reacting defensively when being confronted with the

information; candidate was not “similarly situated” to other candidates who did not have “similar

reaction[s] when presented with information that was unfavorable or surprising”).




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        Here, as in Sweatt, Riley cannot demonstrate that MSP hired any similarly situated

candidate whose investigation raised comparable (or even any) red flags of potential

untruthfulness. As such, summary judgment should enter in favor of MSP.

II.     MSP’s Reasons for Disqualifying Riley Were Legitimate.

        To the extent that Riley has established a prima facie case, MSP has met its burden of

articulating legitimate, non-discriminatory reasons for Riley’s disqualification.                    For law

enforcement officers, there are few qualities more essential than truthfulness. 10 For the 80th RTT,

untruthfulness constituted grounds for disqualification under the guidelines, SMF ¶¶ 83-84, and

the Review Board disqualified no fewer than 22 candidates due, in whole or part, to untruthfulness,

id. ¶ 224. Both the Application and Questionnaire expressly informed candidates—and required

candidates to certify their understanding—that the provision of false or misleading information

could result in their disqualification. Id. ¶¶ 94, 132. Therefore, MSP meets its burden at the second

stage of McDonnell Douglas.

III.    Riley Cannot Establish Pretext or that The True Reason for Lima’s Actions Was
        Discrimination.

        To avoid summary judgment at the third stage of McDonnell Douglas, Riley “must

introduce sufficient evidence to support two findings: (1) that [the] articulated reason. . . is a

pretext, and (2) that the true reason is discriminatory.” Espinal v. Nat'l Grid NE Holdings 2, LLC,

693 F.3d 31, 35 (1st Cir. 2012) (internal citations and quotation marks omitted).


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  See, e.g., Police Commr. of Boston v. Civil Serv. Commn., 22 Mass. App. Ct. 364, 371 (1986) (“Police
officers must . . . behave in a manner that brings honor and respect for rather than public distrust of law
enforcement personnel.”); Town Of Falmouth v. Civil Serv. Comm'n, 61 Mass. App. Ct. 796, 801 (2004) (a
police officer’s “demonstrated willingness to fudge the truth in exigent circumstances is a significant
problem, because [p]olice work frequently calls upon officers to speak the truth”) (internal citations and
quotation marks omitted). MSP has not hesitated to discharge existing State Troopers when discovering,
even years later, that they lied in the course of their Applications. See, e.g., Dasey v. Dep’t of State Police,
65 Mass. App. Ct. 1110, 2005 WL 3489556, at *1 (2005) (Rule 1:28 Decision); McCormack v. Dep't of
State Police, 92 Mass. App. Ct. 1103, 2017 WL 3469601, at *3 (2017) (Rule 1:28 Decision).
                                                      19
       In analyzing a claim of “pretext,” the Court does not “sit as a super-personnel department

that reexamines an entity’s business decisions.” Id. (internal citations and quotation marks

omitted). Instead, the Court’s task is to determine “whether the employer believed in the accuracy

of the reason given for the adverse employment action.” Id. (internal citations and quotation marks

omitted). See Kouvchinov v. Parametric Tech. Corp., 537 F.3d 62, 70 (1st Cir. 2008) (defendant’s

“reasonable belief . . . guides the inquiry” and where the plaintiff “has failed to make out a genuine

issue as to the reasonableness of [the defendant’s belief] . . . the charge of pretext fails”); Shorette

v. Rite Aid of Me., Inc., 155 F.3d 8, 15 (1st Cir. 1998) (similar). Where the employer relied on

more than one justification for its action, the plaintiff may defeat summary judgment only by

showing that each of the justifications was a pretext for discrimination. See Dennis v. Osram

Sylvania, Inc., 549 F.3d 851, 859 (1st Cir. 2008); Curley v. City of N. Las Vegas, 772 F.3d 629,

633 (9th Cir. 2014); Jaramillo v. Colorado Jud. Dep't, 427 F.3d 1303, 1309-10 (10th Cir. 2005).

       All this means that Riley can avoid summary judgment only by advancing competent

evidence that: (a) Lima and MSP’s expressed belief that Riley was untruthful was not genuine;

and (b) racial animus was the real reason for their conclusions. See Espinal, 693 F.3d at 35;

Dukanci v. Ann Inc. Retail, 117 F. Supp. 3d 115, 123 (D. Mass. 2015). Riley cannot do so.

       A.      There Was No Pretext in Finding Riley Untruthful.

       For Lima—and later the Review Board—the signs of Riley’s mendacity were extensive.

Riley’s Application misrepresented his status as a subject of the Soares investigation, left out his

unsuccessful application to the Providence Police Department, and omitted high schools that Riley

left under questionable circumstances. Ex. 25. Despite knowing that the Soares investigation

would be important to MSP, SMF ¶¶ 45, 53, 126, and despite making other self-serving corrections

to his Application, id. ¶¶ 123-25, Riley intentionally declined to provide Lima with any correction



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regarding the Soares investigation, id. ¶ 153. At the same time, Riley actively worked to ensure

that his personnel file would remain free from any reference to the Soares investigation that MSP

might find. Id. ¶¶ 45, 126, 225-27. Riley’s answers in the Questionnaire—completed months after

the May 24, 2011 meeting—contained multiple false representations regarding the Soares

investigation: that Riley had never broken any NBPD rule; that Riley’s name did not appear in any

NBPD case report; and that Riley’s Application remained “accurate and complete.” Id. ¶¶ 129-

41. When his interview occurred, Riley addressed his status in the Soares investigation only

reluctantly and defensively. Riley waited for Lima to bring up the subject of investigations and

only then finally addressed what he had learned on May 24, 2011. Id. ¶¶ 151-60. When shown

the June 18, 2010 Memorandum, Riley immediately became defensive, responding (and then

repeating), “that’s not supposed to be in my file.” Id. ¶¶ 157-58. Assessing the entire body of

evidence, the head of MSP’s Review Board thought it clear that Riley had engaged in a broad

“pattern of deception” designed to conceal various embarrassing aspects of his past. Id. ¶ 210.

        With the passage of time, Riley has developed a series of excuses designed to explain away

his various misstatements and omissions. At this stage of the inquiry, none of them matter. See

Kouvchinov, 537 F.3d at 67; Mesnick v. Gen. Elec. Co., 950 F.2d 816, 824 (1st Cir. 1991) (“[A]

court’s focus must be on the perception of the decisionmaker.”); Sweatt, 796 F.3d at 710 (even if

the plaintiff had a “misunderstanding” with his background investigator, that would “not change

the fact that [he] was not forthcoming”; “[F]or a position where honesty and integrity are

paramount . . . lack of candor understandably served as the death knell for his candidacy”). 11




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  See also Gaston, 2008 WL 540853, at *15 (plaintiff’s “litany of weak explanations for his apparent
misstatements” during background investigation were irrelevant to pretext inquiry); Lopez v. Cont’l Ins.
Corp., 1997 WL 148032, at *4 (N.D. Tex. Mar. 25, 1997) (plaintiff failed background investigation and
argued that he made no “actual, knowing misrepresentations”; “the truth . . . is irrelevant to whether the
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          With respect to Question 20.E. on the Application, Riley claims that he did not learn of his

status as a subject of the Soares investigation until the May 24, 2011 meeting (after completing

the Application) and that he purposefully waited to correct his answer until the interview so that

“there wouldn’t be any misunderstandings.” SMF ¶¶ 50-52, 151-55. Even if true, it does not

matter.     Lima and MSP were entitled to conclude that Riley was untruthful, particularly

considering his other selective and self-serving corrections to the Application, his false answers

on the Questionnaire, and his defensiveness and lack of forthrightness at the interview itself.

          With respect to the Questionnaire, Riley claims that he did not understand the meaning of

the questions asked of him. Id. ¶¶ 135-41. Even if true, it does not matter. For the same reasons

applicable to Question 20.E., and given the plain language of the questions themselves, Lima and

MSP were entitled to conclude that Riley was untruthful.

          With respect to Question 20.A. on the Application and the Providence Police Department,

Riley says that he “assumed that [his] involvement with this particular Department did not pertain

to this question” because Providence “did not perform any background investigation,” but he

“apologize[s] if [he] did misread the question.” Ex. 29. Even if true, it does not matter. Lima and

MSP were entitled to conclude that Riley was untruthful, particularly given Riley’s larger pattern

of misstatements and omissions, SMF ¶ 210, and particularly where Riley had previously failed

his RISP background investigation in part for failing to disclose the exact same unsuccessful

application to the Providence Police Department, id. ¶ 27. 12




information provided a legitimate, nondiscriminatory basis for refusing to hire [the plaintiff]”; what matters
is whether the investigator believed “in good faith believed that [the plaintiff] had committed . . . fraud”).
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  See also SMF ¶¶ 16, 18, 19, 102 (in response to Question 20.A., Riley also failed to disclose unsuccessful
1999 NBPD application, where a background investigation was performed).
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       Finally, with respect to his reasons for leaving Bishop Stang High School, Riley asserts

that he told Lima that he left Dartmouth High School due to a residency requirement and that he

left Bishop Stang for “financial reasons.” Id. ¶¶ 164-67. Even if true, it does not matter. If Lima

confused the two schools, then that confusion was Riley’s own fault. Riley—just as he had before

with NBPD and RISP—intentionally gave Lima an incomplete accounting of his high schools. Id.

¶¶ 17, 23, 98, 121, 170. And more important, even the reason that Riley claims he gave Lima for

leaving Bishop Stang (“financial reasons”) was not the full and true story. In fact, Riley had failed

his sophomore year, as Lima later learned from two school officials. Id. ¶¶ 5-6, 168, 174, 197.

       B.      It Does Not Matter Whether Riley Received the Reprimand.

       Riley’s principal argument regarding pretext has long been that Lima offered ‘shifting

explanations’ for whether Riley received a written reprimand. See Ex. 1 at ¶¶ 18, 28, 37. The

argument misapprehends the undisputed facts surrounding the June 18, 2010 Memorandum.

       There is no dispute that Lima, at the time he drafted his first report, believed based on the

June 18, 2010 Memorandum that Riley had received a reprimand. SMF ¶ 145. Lima was

reasonable in so believing and rejecting Riley’s assertions to the contrary, particularly given the

June 18, 2010 Memorandum (in which the NBPD then-Deputy Chief specifically recommend

Riley receive a reprimand), the misrepresentations on Riley’s Questionnaire, and Riley’s troubling

lack of forthrightness about the Soares investigation both at the interview and prior to the

interview. There was, in short, no reason for Lima to believe anything that Riley said about the

Soares investigation, and every reason to believe that Riley had engaged in a botched cover-up.

       There is also no dispute that Lima learned, after completing his initial report, that Riley

had not received the reprimand. Id. ¶ 196. Lima corrected this fact with the Review Board, and




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the Review Board fully understood the correct status of the reprimand when it decided again to

disqualify Riley on September 26, 2011. 13 Id. ¶ 203; Ex. 30.

       Thus, while it is true that Lima eventually revised his understanding of the reprimand,

nothing about that revision suggests that his initial understanding was unreasonable or a pretext

for discrimination. See Mesnick, 950 at 824; Marcinuk v. Lew, No. 13-CV-12722-DJC, 2016 WL

111409, at *4 (D. Mass. Jan. 11, 2016) (to show pretext, plaintiff must offer evidence “of such

strength and quality . . . to permit a reasonable finding that [the adverse action] was obviously or

manifestly unsupported”) (quoting Shorette, 155 F.3d at 13) (emphasis in original). Moreover,

Lima’s initial understanding of the reprimand ultimately made no difference to the Review Board’s

final decision to disqualify Riley. Ex. 50.

       C.      Lima’s Statements to Riley’s Fiancée Do Not Demonstrate Pretext.

       On the day that Lima conducted his neighborhood check, Lima went to Riley’s home (on

the third floor of an apartment building) and found the front door to the apartment building

unlocked. SMF ¶¶ 175-77. Lima proceeded upstairs to Riley’s unit, where Riley’s fiancée was

home. Id. Riley’s fiancée expressed alarm that the front door had been left open and that Lima

had been able to come straight up. Id. According to Riley’s fiancée, Lima then stated, “You might

want to get that door checked because you don't live in the greatest neighborhood.” Id.

       Riley has argued that this statement demonstrates pretext. See Ex. 1 at ¶ 22. It does not.

There was nothing racially-tinged about the remark, which was prompted by Riley’s fiancée’s own

alarm at the door being unlocked. Moreover, “regardless of the evidentiary course the plaintiff

charts, [he] must show that alleged discriminatory conduct was not ‘merely tinged’ with remarks



13
   Even at the initial September 7, 2011 Review Board meeting, the Board deemed Riley subject to
automatic disqualification not only because they believed he lied about the reprimand, but also because
they believed that Riley lied on the Application and on the Questionnaire. Ex. 50.
                                                  24
[concerning the protected characteristic] but actually was, in either character or substance,

discrimination because of [the protected characteristic].” Teague v. Brennan, No. CIV.A. 13-

10789-DJC, 2015 WL 3910192, at *7 (D. Mass. June 25, 2015) (quoting Rivera v. Puerto Rico

Aqueduct & Sewers, 331 F.3d 183, 189 (1st Cir. 2003)). Riley cannot rely on this benign stray

remark to show pretext. See Williams v. Raytheon Co., 220 F.3d 16, 18–20 (1st Cir. 2000) (isolated

remark perceived as racially-tinged did not show pretext and was insufficient to support inference

of animus); Charles, 2012 WL 2402790, at *10 (similar).

       D.      Riley’s Comparative Evidence Only Demonstrates a Lack of Pretext and
               Discriminatory Animus.

       As discussed above, Lima completed investigations on five candidates for the 80th RTT:

Riley and four white men. SMF ¶¶ 212-22. Riley and three out of the four white candidates

ultimately failed their background investigations. Id. Only a single candidate investigated by

Lima for the 80th RTT (J.H.) eventually passed. Id. In addition to Riley, Lima found at least one

other candidate (A.P.) untruthful under circumstances where the candidate similarly attempted to

explain away his prior misstatements. Sealed Ex. 61 at MSP03365, 67. If Lima was hard on his

candidates, then his hard approach did not discriminate. Riley’s comparative evidence does not

support—and, indeed, manifestly undercuts—his desired inferences of pretext and racial animus.

       E.      Riley’s Attempt to Fall Back on Systemic Attacks on MSP is Improper.

       In earlier phases of this litigation, Riley repeatedly attempted to compel discovery about

general issues at MSP unrelated to the question of whether Lima acted with racial animus.

Ultimately, this Court and the Magistrate Judge each respectively issued multiple orders turning

back Riley’s attempts, and agreeing that the relevant evidence must be “[]tethered to the actual

allegations” that Lima acted with bias and that MSP was responsible for “relying upon the . . .

interview and investigation conducted by Lima.” October 3, 2017 Order on Objection, [Doc. 112].

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        Nevertheless, MSP expects Riley to continue to make two “systemic” arguments: (1) that

general statistics for the 80th RTT show pretext; and (2) that “subjectivity” in the MSP background

investigation process for the 80th RTT shows pretext. Both arguments lack merit, lack relevance,

and lack any connection to Lima, Riley, or the facts of this case.

        As a general matter, 6 of 22 (27%) black candidates who competed for the 80th RTT failed

their background investigations, while 45 of 501 (9%) white candidates who competed failed their

background investigations. Ex. 44. Nothing about these general statistics demonstrates pretext or

an inference of racial animus.

        As the First Circuit has held, statistical evidence in a disparate treatment case “rarely

suffices to rebut an employer’s legitimate, nondiscriminatory rationale for its decision to dismiss

an individual employee.” LeBlanc v. Great American Ins. Co., 6 F.3d 836, 848 (1st Cir. 1993). In

a disparate treatment case, “the issue is less whether a pattern of discrimination existed and more

how a particular individual was treated, and why.” Cumpiano v. Banco Santander P.R., 902 F.2d

148, 156 (1st Cir. 1990). “A statistic is only helpful if it tends to prove the discriminatory intent

of the decision makers involved, which often will be difficult.” Ray v. Ropes & Gray LLP, 799

F.3d 99, 116 (1st Cir. 2015) (internal citations and quotation marks omitted). Thus, for statistical

evidence to matter at all in a disparate treatment case, there must be a “connection between the

statistics, the practices of the employer, and the employee’s case.” LeBlanc, 6 F.3d at 848. 14

        Here, generalized statistics about the 80th RTT say nothing about Lima. The statistics that

matter with respect to Lima are these: 4 out of 5 (80%) of Lima’s candidates failed their



14
  See also Hillstrom v. Best Western TLC Hotel, 354 F.3d 27, 32 (1st Cir. 2003) (to be useful in disparate
impact case, statistical evidence must “tend[] to prove the discriminatory intent of the decision makers
involved”); Mack v. Great Atl. & Pac. Tea Co., 871 F.2d 179, 183-84 n.3 (1st Cir. 1989) (“difficult to
visualize” how general statistical evidence could be admissible in a disparate treatment case; “[p]laintiff’s
pleaded concern seemed to be with how she was treated”) (emphasis in original).

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background investigations, including 3 out of 4 (75%) of his white candidates. SMF ¶¶ 212-22.

Lima himself conducted only 5 out of the 363 (1.4%) investigations that made it to the point of a

final background investigation determination, and that are reflected in the generalized statistics for

the entire 80th RTT. Id. ¶¶ 212-13; Ex. 57. Given the absence of any link to Lima, and particularly

where Riley’s case is “precariously unsupported by other probative evidence of . . .

discrimination,” LeBlanc, 6 F.3d at 848, Riley’s generalized statistics are not competent evidence

of pretext and do not, in any way, suggest that Lima acted with racial animus. 15

        Riley has also argued that the background investigation process for the 80th RTT was overly

“subjective.” As best as can be determined, Riley appears to believe that individual background

investigators should have been subject to stricter supervision and standardization to ensure that all

candidates were treated in precisely the same way in the determination of characteristics like

“truthfulness.” But “truthfulness,” like many other crucial qualities, cannot be quantified on a

numerical scale or measured by standardized testing. Determining whether candidates display the

honesty and good character necessary to be State Troopers will always involve a degree of fact-

dependent subjectivity, and there is nothing surprising in so saying. The First Circuit, like the

Supreme Court, has acknowledged that subjective evaluations are “essential in certain positions,”

and “[j]udicial tolerance of subjective criteria seems to increase with the complexity of the job

involved.” Sweeney v. Bd. of Trustees, 569 F.2d 169, 176 n.14 (1st Cir. 1978), vacated on other

grounds 439 U.S. 24 (1978). See Watson v. Fort Worth Bank & Tr., 487 U.S. 977, 999 (1988).



15
  It is also improper for Riley to rely on generalized statistics about other failed candidates where the Court
already foreclosed Riley’s attempted discovery into the specifics of those candidates’ background
investigations. The Court has already held that such evidence is irrelevant in this case. See [Doc. 112]. No
inference can be drawn based on the background investigations of five other black candidates in the abstract,
absent context for why those particular candidates failed. See McMillan v. Mass. Soc. for Prevention of
Cruelty to Animals, 140 F.3d 288, 202 (1st Cir. 1998); Rossiter v. IBM Corp., No. 04–10069–DPW, 2005
WL 2722929, at *14 (D. Mass. Oct. 19, 2005).
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Moreover, within the framework of McDonnell Douglas, subjectivity alone does not demonstrate

pretext. See Ray, 799 F.3d at 115. A plaintiff relying on such an argument must “suppl[y] . . .

evidence that creates a credible inference that his own [subjective] review process was based on .

. . racial animus.” Id. 16 Here, Riley’s argument about subjectivity within the background review

process, like his argument about statistics, indicates nothing of relevance to Riley’s own case. See

July 13, 2017 Order on Motion to Compel, [Doc. 84] (ruling that the question of whether MSP

generally “validated its background investigation procedures” was not relevant to Riley’s case). 17

Lima and the Review Board considered Riley—based on his own words, his own omissions, and

his own deeds—to be untruthful. No different process would have led to a different result.

                                            *        *       *

        For all of these reasons, Riley’s evidence is “insufficient for a rational factfinder to infer

that . . . actions were based not on [the plaintiff’s] perceived failings, but on discriminatory

animus.” Ray, 799 F.3d at 117 (internal citations and quotation marks omitted). Particularly given

the strength of MSP’s “independent evidence that no discrimination occurred,” and the weakness

in Riley’s prima facie case (if actionable at all), Riley cannot meet his burden at the third stage of

McDonnell Douglas. Zapata-Matos v. Reckitt & Colman, Inc., 277 F.3d 40, 47 (1st Cir. 2002).

Summary judgment should enter in favor of MSP.




16
   See also Byrnie v. Town of Cromwell, Bd. of Educ., 243 F.3d 93, 104-105 (2d Cir. 2001) (“Where an
employer’s explanation, offered in clear and specific terms, is reasonably attributable to an honest even
though partially subjective evaluation of qualifications, no inference of discrimination can be drawn.”)
(internal citations and punctuation omitted); Vitug v. Multistate Tax Comm’n, 88 F.3d 506, 513–14 (7th Cir.
1996) (similar).
17
   As with Riley’s argument regarding general statistics, it is also improper for Riley to rely on a
“subjectivity” argument given the results of the rulings on his discovery motions. During 2017, Riley
sought to compel discovery into how MSP ensured objectivity in its background investigation system. See
[Doc. 65]. The Magistrate Judge held that such discovery was improper in a single plaintiff disparate
treatment case, see [Doc. 84], and Riley did not object to the ruling.

                                                    28
IV.     Riley Cannot Establish That the Review Board Was Negligent in Relying on Lima.

        In the unique facts of this case, Riley must also surmount one further hurdle—he must

show not only a legitimate question on animus, but also a question of whether the Review Board

was negligent in missing the signs of such animus. Riley cannot do so.

        In this case, unlike in the typical case, Riley places the alleged racial animus at the level of

Lima—who was neither a supervisor nor a decision-maker—rather than at the level of the decision-

making Review Board. SMF ¶¶ 72-81, 109. Riley then alleges that the Review Board was tainted

by Lima’s animus. The First Circuit has held that, under Title VII, an employer may be responsible

for a non-supervisor’s discriminatory animus only if the decision-makers were negligent—that is,

if they “know[] (or reasonably should know) of the [subordinate’s] discriminatory motivation.”

Velazquez-Perez v. Developers Diversified Realty Corp., 753 F.3d 265, 273-74 (1st Cir. 2014). 18

        There is no evidence that could support such a finding here. Other than Riley’s allegations

in this case, Lima has never been the subject of a complaint of racial bias or discrimination, or

even regarding background investigations generally. SMF ¶ 223. As a general matter, Lima’s

superiors considered him “one of [MSP’s] more effective background investigators” and “an

extremely thorough, hardworking investigator and very meticulous in all of his work.” Id. ¶¶ 112-

13. Lima serves as a respected investigator both within MSP and outside, currently serving as

Deputy Inspector General for the Massachusetts National Guard. Id. ¶ 114. Certainly, Lima’s

overall body of work for the 80th RTT would have given the Review Board no cause for concern



18
  This question was initially left open by the Supreme Court in Staub v. Proctor Hospital, which held that
an employer may be responsible for the discriminatory animus of a non-decision-making supervisor if that
supervisor “performs an act motivated by . . . animus that is intended . . . to cause an adverse employment
action, and if that act is a proximate cause of the ultimate employment action.” 562 U.S. 411, 422 & n.4
(2011). Under Title VII, an individual is a “supervisor” only if he is “empowered . . . to take tangible
employment actions,” such as having the power “the power to hire, fire, demote, promote, transfer, or
discipline.” Velazquez-Perez, 753 F.3d at 271 (internal citations and quotation marks omitted).
                                                    29
regarding any disparate treatment. As noted, 4 of 5 (80%) of Lima’s candidates ultimately failed

their background investigations including 3 of 4 (75%) of his white candidates. Id. ¶¶ 212-22.

When accused of “getting it wrong” by Riley, Lima proactively sought to review his work and

advised the Review Board of the one thing on which he was initially mistaken. Id. ¶¶ 195, 203,

Ex. 30. When Riley “appealed” the Board’s initial determination, his September 22, 2011 Letter

did not contend—or suggest in any way—that Lima had somehow acted with racial bias. SMF ¶

194; Ex. 29. There was, in sum, nothing about any of the materials or information before the

Review Board that could reasonably have suggested racial animus on the part of Lima.

       Nor did the Review Board function as a rubber stamp for Lima. The Review Board

independently scrutinized Riley’s materials and, having done that, independently satisfied itself

that Riley had lied in multiple respects—based not only on Lima’s report but also on Riley’s own

misstatements, omissions, and evasions that were clear on the face of the record. Ex. 50. In

making its final decision on September 26, 2011, the Review Board concluded that Riley’s lies

stretched even beyond what was known to Lima weeks earlier, and included Riley’s previously

unknown failure to disclose his unsuccessful application to the Providence Police Department.

SMF ¶¶ 190, 204, 209.

       On this record, no jury could conclude that the Review Board “reasonably should have

known” that Lima acted with bias. As such, for this additional reason, summary judgment should

enter in favor of MSP. See Ameen v. Amphenol Printed Circuits, Inc., 777 F.3d 63, 74 (1st Cir.

2015) (Kayatta, J., concurring) (although majority did not reach issue, summary judgment

appropriate for employer that would not reasonably have known of subordinate’s animus).

                                        CONCLUSION

       For all of the foregoing reasons, Summary judgment should enter in favor of MSP.



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                                            Respectfully submitted,

                                            MASSACHUSETTS STATE POLICE

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Dated: November 2, 2017




                               CERTIFICATE OF SERVICE

         I, Jesse M. Boodoo, Assistant Attorney General, hereby certify that I have this day,
November 2, 2017, served the foregoing document upon the attorney of record for all parties by
filing it through the ECF system.




                                            /s/ Jesse M. Boodoo
                                            Jesse M. Boodoo




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